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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF COLUMBIA


YISRAEL WEISER, et al.,

                 Plaintiffs,

v.                                                          Civil Action No. 24-cv-03244 (LLA)

ISLAMIC REPUBLIC OF IRAN, et al.,

                 Defendants.


                       STATUS REPORT IN RESPONSE TO THE COURT’S
                              MARCH 7, 2025 MINUTE ORDER

       Plaintiffs respectfully submit this status report in response to the Court’s Minute Order of

March 7, 2025, which directed Plaintiffs to report “on the status of their attempts to serve

Defendants.” Plaintiffs have not yet served the Complaint on any Defendants because they intend

to file an amended complaint on or before April 25, 2025. The amended complaint will add an

additional defendant and several additional plaintiffs as well as certain additional factual allegations.

Unless otherwise directed by the Court, because the amended complaint will supersede the original

Complaint, Plaintiffs’ intention would be to thereafter translate the amended complaint and related

documents into Farsi and Arabic and then promptly proceed in their efforts to serve the amended

pleading on Defendants.


Dated: March 21, 2025

                                               Respectfully Submitted,


                                               WILLKIE FARR & GALLAGHER LLP


                                       By:     /s/ Lee Wolosky
                                               Lee Wolosky (D.C. Bar No. NY0161)
                                               787 7th Avenue
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                               New York, NY 10019-6099
                               Telephone: (212) 728-8000
                               Facsimile: (212) 728-8111
                               lwolosky@willkie.com

                               OSEN LLC
                               Gary M. Osen (D.C. Bar No. NJ009)
                               Ari Ungar (DC Bar No. NJ008)
                               Michael J. Radine (DC Bar No. NJ015)
                               Dina Gielchinsky (DC Bar No. NJ011)
                               Aaron Schlanger (D.C. Bar No. NJ007)
                               190 Moore Street, Suite 272
                               Hackensack, NJ 07601
                               Telephone: (201) 265-6400
                               Facsimile: (201) 265-0303
                               gosen@osenlaw.com
                               aungar@osenlaw.com
                               mradine@osenlaw.com
                               dgielchinsky@osenlaw.com
                               aschlanger@osenlaw.com

                               STEIN MITCHELL BEATO &
                               MISSNER LLP
                               Jonathan E. Missner (D.C. Bar No. 475648)
                               Michael A. Petrino (D.C. Bar No. 994060)
                               2000 K St., NW, Suite 600
                               Washington, D.C. 20006
                               Telephone: (202) 737-7777
                               Facsimile: (202) 296-8312
                               jmissner@steinmitchell.com
                               mpetrino@steinmitchell.com

                               Attorneys for the Weiser, Morell, Leiter, Balva,
                               Rousso, Chen, Shay, Ziering, Glisko, Schenkolewski,
                               Haggai, Rosenfeld, Levy, Shalom, and Beniashvili
                               Plaintiffs

                               MOTLEY RICE LLC

                         By:   /s/ John M. Eubanks
                               John M. Eubanks (D.C. Bar No. SC0013)
                               Michael E. Elsner (admitted pro hac vice)
                               28 Bridgeside Blvd.
                               Mt. Pleasant, SC 29464
                               Telephone: (843) 216-9250
                               Facsimile: (843) 216-9450
                               jeubanks@motleyrice.com
                                  2
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                             melsner@motleyrice.com

                             Attorneys for the Airley, Bours, Davidovich, Ben
                             Zaken, Goodman, Hamo, Klughaupt, Moses,
                             Newman, Rothner, Shindman, Spitz, Thaler, Vardi,
                             Zer-Chen, Edan, Zafrani, Natan, Amar, Goodman,
                             Gutstein and Tawil Plaintiffs




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